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NAMED PLAINTIFFS
BARBARA J. B. BLACKMON, ET AL v. COACHMEN INDUSTRIES, INC., ET AL

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6. Hendon Wayne 609 Sunset Drive Hancock Bechtel
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